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                   EXHIBIT 15

 

 

 
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION


JULIETA GARIBAY, et al.                             §
                                                    §
vs.                                                 § Civil Action No. 2:19-cv-00040
                                                    §
DAVID WHITLEY, et al.                               §

               DECLARATION OF MARIA FELICITAS BARBOSA
      IN SUPPORT OF APPLICATION FOR TEMPORARY RESTRAINING ORDER


STATE OF TEXAS                                      §
COUNTY OF AUSTIN                                    §



1.     My name is Maria Felicitas Barbosa, and I am a resident and registered voter of Austin

       County. I am over the age of 18 and fully competent to make this declaration. I have

       personal knowledge of each of the matters stated in this declaration.

2.     I naturalized and became a U.S. citizen on November 18, 2015.

3.     I registered to vote the same day I became a U.S. citizen, on November 18, 2015, and I

       voted in the 2016 and 2018 General Elections.

4.     I currently have a valid Texas driver’s license. I most recently renewed my Texas

       driver’s license at the Department of Public Safety (“DPS”) on February 26, 2016. My

       driver’s license expires on March 6, 2020.

5.     When I went to renew my driver’s license, I showed my naturalization certificate to

       prove my citizenship.

6.     On January 31, 2019, my daughter opened the mail at my house and noticed that I had

       received a letter from the Austin County Voter Registrar. At the time I was in Mexico so



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     my daughter asked me if she could open the letter because she saw it was correspondence

     from the government and she was worried. I told her she could open the letter for me.

     The letter, which was dated January 28, 2019, stated:

            My office has received information concerning your registration to vote.
            Your registration status is being investigated because there is reason to
            believe you may not be a U.S. citizen. This information may have been
            provided by clerks of the court regarding individuals who were excused or
            disqualified from jury duty because they are not U.S. citizens and/or the
            Department of Public Safety (‘DPS’) for individuals possessing a Driver
            License or Personal Identification Card who DPS has identified are not
            citizens of the United States and/or other information derived through
            lawful means. You are now required to confirm your eligibility for
            registration by providing proof of citizenship to maintain your registration
            status. Proof of citizenship must be in a certified form of birth certificate,
            passport, or citizenship papers. If you fail to provide this proof of
            citizenship within 30 days from the date of this letter, your voter
            registration will be cancelled.

7.   When my daughter read this letter, she immediately contacted me and told me I had 30

     days to act or I would be removed from the voter rolls. I was very confused. I was not

     sure why I was being accused of not being a U.S. citizen, and I became really worried

     and angry.

8.   On February 4, 2019, after I returned home, I asked my daughter to drive me to the

     Austin County Voter Registrar’s office to present the requested proof of citizenship. In

     order for me to make this trip, I had to leave my husband’s side while he was getting

     medical care at the medical clinic. In addition, I was very stressed out because my

     naturalization certificate was locked in a safe box that I could not open. Luckily, I was

     able to retrieve the certificate. My daughter had to take time off from work and leave her

     job to drive me to the Voter Registrar’s office.




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9.    Once I arrived at the Voter Registrar’s office, I presented the letter and my naturalization

      certificate. The clerk who spoke to me made a copy of my certificate and stated I did not

      need to take further action.

10.   I felt and continue to feel very worried that I may no longer be allowed to vote. I am not

      sure if presenting my certificate of naturalization was sufficient, and I worry that my

      voter registration will be cancelled. I am also upset that I am on a list of individuals

      accused of illegal registration and voting. I worry that I’m going to be criminally

      investigated for registering and voting.

11.   After living in this country for many years without the ability to vote, I was very proud

      and emotional to become a U.S. citizen and to finally register to vote. I cast my votes in

      previous elections very proudly.

12.   If I am removed from the voter rolls for non-U.S. citizenship (when I am in fact a U.S.

      citizen), I do not know how I would be able to become a registered voter again.

13.   I was lucky that my daughter checked the mail on time to see this letter. I worry that if

      other people receive a similar letter and do not check their mail promptly, they will not

      submit proof of citizenship on time and be removed from the voter rolls. I worry that

      they will not be able to exercise their right to vote, and I do not think it is fair.




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